ease 2:11-cv-13541-l_Pz-Rsvv Ecl= l\lo. 12 filed 03/01/12 P`agelo.sls&, Page 1 of 71 /

/*'
lt l

 

  
   
 

UN|TED STATES DlSTR|CT COURT

l L E D
oA!l-+Y M. GAF%§E§RU
EAsTERN olsTRloT oF lvlchloAN W""“E °°“""

FEB 2 8 2012

 

 

Tyee Burke,
P|aintiff(s),
v. Case No. 2:11-cv-13541-LPZ-RSW
Hon. Lawrence P. Zatkoff
St. John Health-Providence
Hospital, et a|.,
Defendant(s).
NOT|CE OF REMAND MAR _ 1 201
TO: Wayne County Circuit Court LEHK,S 2
ol=F

Enclosed are certified copies of the Order off Re_rnand and this Court's docket sheet.

N Please acknowledge receipt of these doctlrnentsbyreturning a time-stamped copy of this
otice to:

Cierk's Office "
. int _§ U. S. District Court for the Eastern District of l\/lichigan
' 231 W. Lafayette B|vd, 5th F|oor
Detroit, l\/ll
48226
(313) 234-5005

Certification

| hereby certify that this Notice was electronically filed and the parties and/or counsel of
record Were served

DAV|D J. WEAVER, CLERK OF COURT

l3y: §ZQ. Perg§ki `
Deputy Clerk ' , d y

Dated: February 21, 2012

 

 

